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     EXHIBIT 4
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,                    )
                                          )
                         Plaintiff,       )   Civil Action No. 1:17-cv-11008-MLW
                                          )
                  v.                      )
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                                          )
                                          )
                         Defendants.
                                          )
                                          )

     STATEMENT OF JANSSEN’S POSITION ON DISPUTED JURY INSTRUCTIONS




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       Defendants’ 126 pages of proposed jury instructions are unduly long, misstate the law

and the facts, provide irrelevant instructions, and, as a result, do not provide a reasonable basis

for the jury to decide this case. Indeed, Defendants’ proposed instructions read like the work of

an advocate for Defendants and do not even resemble a legitimate attempt to instruct the jury on

the law. They are nowhere near a neutral description of the law that would provide the jury with

an accurate and useful guide to rendering a verdict in this case. Janssen’s position on the

appropriate jury instructions is set forth in its own, far more concise proposed jury instructions,

which it contends accurately state the law and will provide the jury with a neutral and useful

basis for rendering a verdict in this case. Janssen’s specific objections to the Defendants’

instructions are set forth in the below table. In general, Janssen’s objections largely fall into the

following categories:

           Instructions on Topics Not At Issue in the Case: Several of Defendants’ proposed

jury instructions relate to topics that are not at issue in the case, but are apparently included in

order to bolster improper arguments that Defendants intend to make. For example, Defendants’

Proposed Final Instruction No. 23 gives instructions on direct infringement by literal

infringement. As the Defendants point out in that very instruction, Janssen does not allege that

the Defendants’ cell culture media literally infringes. There is absolutely no reason to instruct

the jury on a theory of infringement that is not actually at issue in the case, except to improperly

belittle Janssen’s doctrine of equivalents theory. See Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d

1201, 1234 (Fed. Cir. 2014) (“[A] court should not instruct on a proposition of law about which

there is no competent evidence.”) (internal quotation marks omitted). Similarly, Defendants’

Proposed Instruction No. 50 is addressed to the entire market value rule when, as the instruction




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notes, that rule is not in issue here. Again, there is not plausible reason to instruct the jury about

a theory that is not in the case.

        Instructions that Misstate the Applicable Law: Defendants misstate the applicable law

in several of their proposed instruction, including on the doctrine of equivalents and validity.

For example, Defendants’ Proposed Final Jury Instruction No. 24 instructs the jury that it is

“important to keep in mind that the application of the doctrine of equivalents is the exception and

not the rule.” The case cited by Defendants in support of that proposition predates the

controlling decisions in Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722

(2002) and Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17 (1997), which,

contrary to the instruction “reaffirm[] that equivalents remain a firmly entrenched part of the

settled rights protected by the patent.” Festo, 535 U.S. at 733. In addition to being incorrect,

this proposed instruction is highly prejudicial because it implies (incorrectly) that infringement

under the doctrine of equivalents is lesser than literal infringement or somehow not a proper

theory of infringement, neither of which is correct. The jury will not be asked to determine

whether the doctrine of equivalents is the exception or the rule. They will be asked to apply the

law, which recognizes the doctrine of equivalents, to the facts adduced at trial.

        As another example, Defendants’ Proposed Final Instruction No. 33 purports to instruct

the jury on the burden of proof on invalidity. The proper instruction on this topic is that, as

controlling case law makes clear, patents are presumed valid and can only be invalidated based

on clear and convincing evidence. Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95 (2011).

But Defendants’ fail to mention this law until the second-to-last sentence of their lengthy

instruction. Instead, the instruction amounts to a transparently one-sided argument that grant of a

patent does not necessarily mean the patent is valid. The case law holds that it is improper to


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even argue to the jury that the Patent Office regularly issues invalid patents. See Novo Nordisk

A/S v. Becton Dickinson & Co., 304 F.3d 1216, 1220 (Fed. Cir. 2002) (improper to argue to the

jury that “patent examiners are prone to error”); Applied Materials, Inc. v. Advanced

Semiconductor Materials Am., Inc., No. C 92-20643, 1995 U.S. Dist. LEXIS 22335, at *11 (N.D.

Cal. April 25, 1995) (“Testimony about overwork . . . or insinuating that the Patent Office does

not do its job properly is excluded.”). To instruct the jury to that effect is plainly inappropriate.

       Defendants’ proposed instruction also fails to instruct the jury that patents are presumed

valid, 35 U.S.C. § 282, giving them an incorrect impression of the standard for evaluating the

validity of the patent. This instruction then goes on to state that a “patent must be interpreted the

same way for determining infringement and determining invalidity,” invoking Defendants’

erroneous “double-standard” argument, which is inappropriate for the reasons described in

Janssen’s in limine motion. Dkt. 269. That statement also improperly suggests that the jury will

interpret the patent’s claims, when that is “exclusively within the province of the court,” not the

jury. Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996).

           Argumentative and Partisan Instructions: As an example, Defendants’ Proposed

Final Instruction No. 31 leads off with the biased (and inaccurate) statement that “Celltrion and

Hospira do not directly infringe the ‘083 patent.” As that very instruction recognizes, Janssen

alleges that both Celltrion and Hospira do directly infringe the patent on a theory of vicarious

liability. If Celltrion and Hospira are found to be vicariously liable then they will have directly

infringed. See, e.g., Centillion Data Sys., LLC v. Qwest Communs. Int’l, 631 F.3d 1279, 1286

(Fed. Cir. 2011). This instruction is highly prejudicial, in addition to being incorrect. It is

tantamount to directing the jury to return a verdict of no direct infringement when that issue is

very much in dispute. Throughout the instructions, the Defendants make gratuitous and


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unnecessary repeated references to the fact that Janssen does not allege literal infringement,

again an attempt to imply that the doctrine of equivalents is not a proper theory of infringement.

       Faulty Damages Instructions: Defendants’ proposed damages instructions are a one-

sided effort to advance Defendants’ case, misstate the law, and ignore the Court’s previous

rulings in this case. For example, they direct the jury to consider sales of cell culture media,

when Janssen’s position is that damages should be based on sales of Inflectra. See, e.g., Defs.’

Proposed Final Jury Instruction No. 44, 52−59. In addition, the instructions also repeat

Defendants’ argument that “Janssen does not sell cell culture media.” Defs.’ Proposed Final Jury

Instruction No. 55. These instructions would lead to a damages award of $0 and are at odds with

this Court’s ruling that Janssen may recover “lost profits relating to sales of Inflectra,” Janssen

Biotech, Inc. v. Celltrion Healthcare Co., 239 F. Supp. 3d 328, 330 (D. Mass. 2017); see also id.

at 331 (“A patentee may recover damages in the form of lost profits to compensate for sales of an

unpatented product (i.e., Remicade) lost to an infringer's non-infringing product (i.e., Inflectra),

if the infringer could only have captured the patentee's sales by infringing the patent by, in this

case, using an infringing powder.”). Essentially all of Defendants’ instructions on damages

suffer from this defect.

       Janssen’s particularized objections are as follows:

                         Defendants’         Janssen’s Objections to Defendants’ Instruction
       Issue
                       Instruction Nos.

                         Preliminary        Partisan and argumentative; inappropriate focus on
   Summary of           Instruction 12      General Electric
   Contentions         Final Instruction
                              17

                                            Partisan and argumentative; misstates the law on
                            Preliminary
What Is A Patent                            public notice; misstates the law on presumption of
                           Instruction 10
                                            validity

                                                  5

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                        Defendants’        Janssen’s Objections to Defendants’ Instruction
       Issue
                      Instruction Nos.

                        Preliminary       Misstates the law on public notice; fails to instruct the
  Patent at Issue
                       Instruction 11     jury on the “comprising” claim

                        Preliminary       Damages and liability should be bifurcated and if this
  Order of Trial
                       Instruction 16     instruction is given it should address bifurcation

                                          Partisan and argumentative; misstates the law on
  Claims / Claim      Final Instruction
                                          public notice; fails to instruct the jury on the
   Construction          18, 19, 21
                                          “comprising” claim

                                          Partisan and argumentative; confusing in that it
                      Final Instruction
   Infringement                           purports to instruct the jury on a legal principle not at
                           22, 23
                                          issue in the case

   Doctrine of        Final Instruction   Partisan and argumentative; misstates the law
   Equivalents             24, 25         regarding the doctrine of equivalents

                                          Presents vitiation to the jury when it is not a jury
                      Final Instruction
     Vitiation                            question; partisan and argumentative; misstates the
                             26
                                          law on vitiation

                                          Misstates the law and applies additional requirements
                      Final Instruction
     271(f)(1)                            for infringement under 271(f)(1); partisan and
                             28
                                          argumentative

      Divided         Final Instruction   Misstates the law; instructs the jury on irrelevant
   Infringement              29           principles; partisan and argumentative

                                          Misstates the law on vicarious liability and joint
                      Final Instruction
Vicarious Liability                       enterprise; instructs the jury on irrelevant principles;
                           30, 31
                                          inconsistent with the Court’s previous rulings

                      Final Instruction   Partisan and argumentative; misstates the law on
   Inducement
                             32           induced infringement

   Invalidity -       Final Instruction   Partisan and argumentative; misstates the law by
 Burden of Proof             33           ignoring the presumption of validity

   Obviousness        Final Instruction   Partisan and argumentative; misstates the law on
    Analysis                 38           obviousness; unduly long and confusing

   Prior Art –                            Misstates the law on overlapping ranges; unnecessary
                      Final Instruction
   Overlapping                            as a separate instruction
                             39
     Ranges
                                                6

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                      Defendants’        Janssen’s Objections to Defendants’ Instruction
       Issue
                    Instruction Nos.

    Objective       Final Instruction   Misstates the law on long-felt need; partisan and
  Considerations           40           argumentative

    Prior Art –                         Misstates the law on additional elements; partisan and
                    Final Instruction
    Additional                          argumentative
                           41
     Elements

                                        Misstates the law on written description;
     Written        Final Instruction
                                        inappropriately references Defendants’ improper
    Description            42
                                        public notice argument

 Infringement—                          Partisan and argumentative; misstates the law
                    Final Instruction
Comparison to the                       regarding the doctrine of equivalents
                           27
Accused Products

    Written                             Instructs the jury on an irrelevant issue; misstates the
                    Final Instruction
  Description—                          law on written description
                           43
  Genus Claims

                                        Partisan and argumentative; misstates the law on
    Damages –       Final Instruction
                                        damages; inconsistent with the Court’s prior rulings
   Introduction            44
                                        in the case

    Damages –       Final Instruction   Partisan and argumentative; instructs the jury about
   Foreign Sales           45           an unnecessary issue

    Damages –       Final Instruction   Partisan and argumentative; instructs the jury about
Intervening Cause          46           an unnecessary issue

                                        Partisan and argumentative; misstates the law on
Damages – Patent    Final Instruction
                                        damages; instructs the jury about an unnecessary
 Hold-Up Value             47
                                        issue

Damages – Future    Final Instruction   Partisan and argumentative; unnecessary to separately
     Sales                 48           instruct the jury

                                        Partisan and argumentative; misstates the law on
  Damages –         Final Instruction
                                        damages; instructs the jury about an unnecessary
 Apportionment             49
                                        issue

Damages – Entire                        Partisan and argumentative; misstates the law on
                    Final Instruction
 Market Value                           damages; instructs the jury about an unnecessary
                           50
    Rule                                issue

                                              7

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                    Defendants’        Janssen’s Objections to Defendants’ Instruction
       Issue
                  Instruction Nos.

                  Final Instruction   Partisan and argumentative; misstates the law on lost
 Damages – Lost
                   51, 52, 53, 54,    profits damages; inconsistent with the Court’s prior
    Profits
                   55, 56, 57, 58     rulings in the case

    Damages –                         Partisan and argumentative; misstates the law on
                  Final Instruction
    Reasonable                        reasonable royalty damages; inconsistent with the
                   59, 60, 61, 62
     Royalty                          Court’s prior rulings in the case

                  Final Instruction   Misstates the law on willfulness; instructs the jury on
    Willfulness
                         63           topics not at issue in this case




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